            Case 1:20-cv-08122-LLS Document 8 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DORAN ALLEN,

                                Plaintiff,

                    -against-                                   20-CV-8122 (LLS)

                                                               CIVIL JUDGMENT
SCOTT STRINGER, NEW YORK CITY
COMPTROLLER; WARDEN, AMKC C-95,

                                Defendants.

         Pursuant to the order issued November 2, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(ii). The Court declines under 28 U.S.C. § 1367(c) to exercise

supplemental jurisdiction over Plaintiff’s state law claims and dismisses such claims without

prejudice to Plaintiff’s refiling them.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     November 2, 2020
           New York, New York

                                                              Louis L. Stanton
                                                                 U.S.D.J.
